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                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

  TIMOTHY SWOPE and MARLA
  SWOPE, individually and on behalf of          Case No. 4:17-cv-00113-DCN
  B.S., and DENISE COOMBS,
  individually and on behalf of O.C.,           AMENDED JUDGMENT

         Plaintiff,

          v.

  ONEIDA SCHOOL DISTRICT NO. 351,
  a county school district; DAVID
  RISENMAY, in his individual and
  official capacities; TERRI SORENSEN,
  in her individual and official capacities,
  and KERRY EVANS, in her individual
  and official capacities,

         Defendants.


       Pursuant to Federal Rule of Civil Procedure 58, and based upon the jury’s verdict

in this case (Dkt. 164),

IT IS HEREBY ORDERED:

   1. That judgment be entered in favor of Plaintiff B.S. and against Defendant Oneida

       School District No. 351, with damages in the amount of $620,000.00 (Six hundred

       twenty thousand dollars).

   2. That judgment be entered in favor of Plaintiff B.S. and against Defendant Terri

       Sorensen, with damages in the amount of $30,000.00 (Thirty thousand dollars).

   3. That judgment be entered in favor of Plaintiff B.S. and against Defendant David

       Risenmay, with damages in the amount of $50,000.00 (Fifty thousand dollars).


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  4. That judgment be entered in favor of Plaintiff O.C. and against Defendant Oneida

     School District No. 351, with damages in the amount of $500,000.00 (Five

     hundred thousand dollars).

  5. That attorneys’ fees are awarded to Plaintiffs B.S. and O.C. in the amount of

     $269,914.64.

  6. That costs are awarded to Plaintiffs B.S. and O.C. in the amount of $26,043.55.


                                              DATED: October 22, 2019


                                              _________________________
                                              David C. Nye
                                              Chief U.S. District Court Judge




AMENDED JUDGMENT - 2
